Judge: Milton Case: 1:13-cv-05795 Document #: 1 Filed: 08/06/13 Page 1 of 3 PageID #:1
              I. Shadur
Magistrate Judge: Jeffrey Cole
Filed: 08/06/13
Case: 13cv5795
                                UNITED STATES JUDICIAL PANEL
ef                                             on
                                            MULTIDISTRICT LITIGATION


           IN RE: STERICYCLE, INC., STERISAFE
           CONTRACT LITIGATION                                                                      MDL No. 2455


                                                   TRANSFER ORDER


                    Before the Panel:* Pursuant to 28 U.S.C. § 1407, common defendant Stericycle, Inc.
           (Stericycle) moves for centralization of this litigation in the Northern District of Illinois. The
           litigation encompasses four actions, which are listed on Schedule A, pending in the Southern District
           of California, the Northern District of Illinois (two actions), and the Western District of Pennsylvania,
           respectively.1

                   All responding plaintiffs support centralization, but there is some disagreement as to an
           appropriate transferee district. Plaintiff in the Northern District of Illinois Midgley action supports
           centralization in the Northern District of Illinois.2 Plaintiff in the Western District of Pennsylvania
           action also supports centralization, but in the Western District of Pennsylvania. Plaintiff in the
           Northern District of Illinois Lyndon Veterinary Clinic action supports centralization in either the
           Northern District of Illinois or the Western District of Pennsylvania.

                    On the basis of the papers filed and hearing session held, we find that the actions listed on
           Schedule A involve common questions of fact, and that centralization in the Northern District of
           Illinois will serve the convenience of the parties and witnesses and promote the just and efficient
           conduct of the litigation. All four actions are putative class actions sharing factual issues arising from
           similar allegations made by Stericycle customers who agreed to the form Stericycle service
           agreement. Specifically, plaintiffs allege that despite the agreed-upon contract price, Stericycle adds
           unauthorized and unjustified fees and surcharges to each invoice, and that those fees and surcharges
           bear no relation to actual increases in Stericycle’s costs. Plaintiffs also allege that Stericycle


              *
                   Judge Marjorie O. Rendell took no part in the decision of this matter.
              1
                   The Panel has been informed of a related federal action pending in the Southern District of
           California, as well as a related qui tam action is pending in the Northern District of Illinois. Those
           actions and any other related actions are potential tag-along actions. See Panel Rules 1.1(h), 7.1, and
           7.2.
              2
                   In his brief to the Panel, the Midgley plaintiff argued that there was a reasonable prospect of
           Section 1404 transfer, to the Northern District of Illinois, of the Western District of Pennsylvania and
           Southern District of California actions, and that such transfer would obviate the need for
           centralization under Section 1407. At oral argument, however, plaintiff changed his position to
           support centralization.
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                                                   -2-

automatically increases the periodic service charge by eighteen percent every nine months, and that
those increases also are unrelated to actual increases in the company’s costs. Centralization would
avoid duplicative discovery and eliminate the possibility of inconsistent rulings on class certification
and other pretrial matters.

         We conclude that the Northern District of Illinois is an appropriate transferee district for this
litigation. Stericycle is headquartered in that district, and thus many of its witnesses and documents
are likely to be found there. In addition, two of the five constituent actions are pending there, as is
the related qui tam action. The Honorable Milton I. Shadur, to whom we assign this litigation, is an
experienced jurist and a previous transferee judge. He already is presiding over the two constituent
Northern District of Illinois actions, and we have every confidence that he will steer this litigation on
a prudent course.

        IT IS THEREFORE ORDERED that pursuant to 28 U.S.C. § 1407, the actions listed on
Schedule A and pending outside the Northern District of Illinois are transferred to the Northern
District of Illinois, and, with the consent of that court, assigned to the Honorable Milton I. Shadur
for coordinated or consolidated pretrial proceedings.


                                        PANEL ON MULTIDISTRICT LITIGATION




                                                           John G. Heyburn II
                                                                Chairman

                                        Kathryn H. Vratil                    Paul J. Barbadoro
                                        Charles R. Breyer                    Lewis A. Kaplan
                                        Sarah S. Vance
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IN RE: STERICYCLE, INC., STERISAFE
CONTRACT LITIGATION                                                            MDL No. 2455


                                       SCHEDULE A


            Southern District of California

     Sassan Alavi, M.D. v. Stericycle, Inc., et al., C.A. No. 3:13-00880   13cv5797

            Northern District of Illinois

     Lyndon Veterinary Clinic, PLLC v. Stericycle, Inc., C.A. No. 1:13-02499
     Harry C. Midgley, III v. Stericycle, Inc., C.A. No. 1:13-03448

            Western District of Pennsylvania

     Cochranton Veterinary Hospital v. Stericycle, Inc., C.A. No. 1:13-00071     13cv5799
